       Case: 20-1422     Document: 175-2      Page: 1     Date Filed: 04/01/2021




                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                _______________

                                     No. 20-1422
                                   _______________

                       UNITED STATES OF AMERICA
                                       v.
                 SAFEHOUSE, a Pennsylvania nonprofit corporation;
               JOSÉ BENITEZ, as President and Treasurer of Safehouse

                                *******************

                   SAFEHOUSE, a Pennsylvania nonprofit corporation
                                             v.
   U.S. DEPARTMENT OF JUSTICE; WILLIAM P. BARR, in his official capacity
       as Attorney General of the United States; and WILLIAM M. MCSWAIN,
    in his official capacity as U.S. Attorney for the Eastern District of Pennsylvania

                 United States of America, U.S. Department of Justice,
                 United States Attorney General William P. Barr, and
           the United States Attorney for the Eastern District of Pennsylvania
                                 William M. McSwain,
                                                       Appellants

                                   _______________

                    On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                                (D.C. No. 2:19-cv-00519)
                     District Judge: Honorable Gerald A. McHugh
                                   _______________

                              Argued: November 16, 2020

                 Before: AMBRO, BIBAS, and ROTH, Circuit Judges
                               _______________

                                     JUDGMENT
                                   _______________

    This cause came to be considered on the record from the United States District Court
for the Eastern District of Pennsylvania and was argued on November 16, 2020.
         Case: 20-1422   Document: 175-2          Page: 2      Date Filed: 04/01/2021




   On consideration whereof, it is now ORDERED and ADJUDGED that the District
Court’s judgment entered on February 25, 2020, is hereby REVERSED and RE-
MANDED. Costs will be taxed against Appellees. All of the above in accordance with the
Opinion of this Court.



                                                            ATTEST:


                                                            s/ Patricia S. Dodszuweit
                                                            Clerk
Dated:     January 12, 2021




                               Certified as a true copy and issued in lieu
                               of a formal mandate on April 1, 2021


                              Teste:
                              Clerk, U.S. Court of Appeals for the Third Circuit




                                              2
